        Case 3:24-cr-00152-WHO            Document 1        Filed 03/12/24        Page 1 of 5


                                                                                            FILED
                       UNITED STATES DISTRICT COURT                                           Mar 12 2024

                       NORTHERN DISTRICT OF CALIFORNIA                                       Mark B. Busby
                                                                                       CLERK, U.S. DISTRICT COURT
                                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                                            SAN FRANCISCO

                             CRIMINAL COVER SHEET
Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.


 CASE NAME:                                                CASE NUMBER: 3:24-cr-00152 WHO
 USA V.    CSABA JOHN CSUKÁS                                        CR

 Is This Case Under Seal?                       Yes ✔ No

 Total Number of Defendants:                       1 ✔ 2-7            8 or more

 Does this case involve ONLY charges
                                                Yes       No   ✔
 under 8 U.S.C. § 1325 and/or 1326?

 Venue (Per Crim. L.R. 18-1):                    SF ✔ OAK             SJ

 Is this a potential high-cost case?            Yes       No ✔

 Is any defendant charged with
                                                Yes       No ✔
 a death-penalty-eligible crime?

 Is this a RICO Act gang case?                  Yes       No ✔

 Assigned AUSA
                                                          Date Submitted: 3-12-24
 (Lead Attorney): Colin Sampson

 Comments:




                                                               RESET FORM               SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
Case 3:24-cr-00152-WHO           Document 1          Filed 03/12/24       Page 2 of 5


      United States District Court                                                      FILED
                         FOR THE                                                          Mar 12 2024

              NORTHERN DISTRICT OF CALIFORNIA                                            Mark B. Busby
                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                NORTHERN DISTRICT OF CALIFORNIA
                   VENUE: SAN FRANCISCO                                                 SAN FRANCISCO




                        UNITED STATES OF AMERICA,
                                          V.

                           CSABA JOHN CSUKÁS




                               DEFENDANT(S).


                              INDICTMENT

                          18 U.S.C. § 249(a)(2) - Hate Crimes




         A true bill.

         /s/ Foreperson of the Grand Jury
                                                                Foreman

         Filed in open court this __________
                                  12th       day of

         _________________________________.
         March, 2024

          ____________________________________________
                                                 Clerk
          ____________________________________________

                                               Bail, $ _____________
                                                       Arrest Warrant
             Case 3:24-cr-00152-WHO           Document 1       Filed 03/12/24     Page 3 of 5




 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney
                                                                           FILED
 2
                                                                             Mar 12 2024
 3
                                                                        Mark B. Busby
 4
                                                                  CLERK, U.S. DISTRICT COURT
 5                                                             NORTHERN DISTRICT OF CALIFORNIA
                                                                       SAN FRANCISCO
 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10                                          SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                        ) CASE NO. 3:24-cr-00152 WHO
                                                      )
12           Plaintiff,                               ) VIOLATION: 18 U.S.C. § 249(a)(2) - Hate Crimes
                                                      )
13      v.                                            )
                                                      ) SAN FRANCISCO VENUE
14   CSABA JOHN CSUKÁS,                               )
                                                      )
15           Defendant.                               )
                                                      )
16

17                                             INDICTMENT
18 The Grand Jury charges:
19           1.      At all times relevant to this Indictment, Defendant CSABA JOHN CSUKÁS was an
20 individual who resided in the Northern District of California. CSUKÁS worked as a driver for an app-

21 based rideshare company (“Company A”).

22           2.      On or about October 26, 2023, CSUKÁS was hired through Company A to drive S.B.
23 from San Francisco International Airport to S.B.’s home in San Jose, California. At the predetermined

24 pickup location, CSUKÁS approached S.B., asked S.B. if he was Jewish or Israeli, stated that he would

25 not transport a Jewish or Israeli person in his vehicle, and attacked S.B. by striking him in the face with

26 his right fist, causing bodily injury.

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28


     INDICTMENT                                      1
            Case 3:24-cr-00152-WHO           Document 1       Filed 03/12/24        Page 4 of 5




 1          3.     On or about October 26, 2023, in the Northern District of California, the defendant,

 2                                          CSABA JOHN CSUKÁS,

 3 during the course of S.B.’s international travel for business and during S.B.’s use or attempted use of a

 4 channel and instrumentality of interstate commerce, specifically, an internet-based rideshare service,

 5 did willfully cause bodily injury to S.B. because of the actual and perceived religion and national

 6 origin of any person, namely S.B., whom the defendant perceived to be Jewish and Israeli.

 7           All in violation of Title 18, United States Code, Section 249(a)(2).

 8

 9 DATED: 3/12/2024                                              A TRUE BILL.

10                                                                       /s/

11
                                                                 FOREPERSON
12
   ISMAIL J. RAMSEY
13 United States Attorney

14 /s/ Colin Sampson

15
   COLIN SAMPSON
16 Assistant United States Attorney

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     INDICTMENT                                      2
AO 257 (Rev. 6/78)          Case 3:24-cr-00152-WHO                      Document 1               Filed 03/12/24            Page 5 of 5

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                INFORMATION             INDICTMENT                             Name of District Court, and/or Judge/Magistrate Location
                                                           SUPERSEDING                              NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                              SAN FRANCISCO DIVISION
 18 U.S.C. § 249(a)(2) - Hate Crimes                                    Petty

                                                                        Minor              DEFENDANT - U.S
                                                                        Misde-                                                               FILED
                                                                        meanor
                                                                                          CSABA JOHN CSUKÁS                                   Mar 12 2024
                                                                        Felony
                                                                                              DISTRICT COURT NUMBER                           Mark B. Busby
PENALTY:       Ten Years Imprisonment;
                                                                                              3:24-cr-00152 WHO                         CLERK, U.S. DISTRICT COURT
               Three Years Supervised Release;                                                                                       NORTHERN DISTRICT OF CALIFORNIA
               $250,000 Fine; and                                                                                                            SAN FRANCISCO
               $100 Special Assessment

                                                                                                                        DEFENDANT
                              PROCEEDING                                                        IS NOT IN CUSTODY
                                                                                                  Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                               1)       If not detained give date any prior
                                         FBI
                                                                                                  summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                       2)       Is a Fugitive
       give name of court
                                                                                         3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                IS IN CUSTODY
                                                                                         4)       On this charge
       this is a reprosecution of

                                                                                                                                   }
       charges previously dismissed                                                      5)       On another conviction
       which were dismissed on motion                            SHOW                                                                        Federal         State


                                                       }
       of:                                                     DOCKET NO.
                                                                                         6)       Awaiting trial on other charges
             U.S. ATTORNEY               DEFENSE
                                                                                                   If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                            }
                                                                                                                  Yes            If "Yes"
       pending case involving this same                                                       Has detainer
                                                                                                                                 give date
       defendant                                            MAGISTRATE                        been filed?         No             filed


                                                       }
                                                             CASE NO.
       prior proceedings or appearance(s)                                                     DATE OF
                                                                                              ARREST
                                                                                                                        Month/Day/Year
       before U.S. Magistrate regarding this
       defendant were recorded under                                                          Or... if Arresting Agency & Warrant were not

                                                                                                                                       Month/Day/Year
Name and Office of Person
Furnishing Information on this form                  Ismail J. Ramsey
                                                                                              DATE TRANSFERRED
                                                                                              TO U.S. CUSTODY
                                                                                                                            
                                  U.S. Attorney        Other U.S. Agency

Name of Assistant U.S.                                                                             This report amends AO 257 previously submitted
Attorney (if assigned)                         Colin Sampson
                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS                    NO PROCESS*         WARRANT               Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                   * Where defendant previously apprehended on complaint, no new summons or
                                                                                 warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                 Date/Time:                                 Before Judge:

        Comments:
